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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-02656-LTB

  KATRINA BAGWELL and LUKE BAGWELL,

         Plaintiffs,

  v.

   BOSTON SCIENTIFIC CORPORATION,

         Defendant.


       PLAINTIFFS KATRINA BAGWELL AND LUKE BAGWELL’S RESPONSE IN
        OPPOSITION TO DEFENDANT BOSTON SCIENTIFIC CORPORATION’S
                 RENEWED MOTION FOR SUMMARY JUDGMENT
                      AND MEMORANDUM IN SUPPORT



                                          INTRODUCTION

         In its Renewed Motion for Summary Judgment and Memorandum in Support (“Def.

  Brief”), Defendants at best grossly omits critical facts in this case – facts that demonstrate

  unequivocally that Plaintiffs Katrina and Luke Bagwell served and filed their lawsuit against

  Boston Scientific Corporation (“Boston Scientific”) within Colorado’s statutes of limitations.

  Indeed, Boston Scientific does not even acknowledge in its motion and memorandum the

  multidistrict litigation (“MDL”) Court’s Pretrial Orders (“PTO”) #47 and 53 that established a

  “delayed filing” procedure within the MDLs, including claims against Boston Scientific brought

  in MDL No. 2326. Nor does Boston Scientific acknowledge that Plaintiffs Katrina and Luke

  Bagwell served their complaint on Boston Scientific Corp. on May 31, 2013 – well within the

  statutory period – and in compliance with Pretrial Orders #47 and 53. Thus, Boston Scientific’s

  summary judgment motion and supporting memorandum are without merit on the issue of the

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  statute of limitations, even bordering on frivolous, and must be denied, as further set forth below.

  Boston Scientific’s remaining arguments – which are presented in boilerplate fashion – are

  equally flawed and, like its statute of limitations argument, omit reference to important facts and

  testimony that undermine Boston Scientific’s arguments.

                            PLAINTIFFS’ STATEMENT OF FACTS 1

      1. Plaintiffs are citizens and residents of the State of Colorado. MSUMF No. 1.

      2. On November 18, 2009, Ms. Bagwell was implanted by Dr. Cheryl Cowles with

  Defendant Boston Scientific Corporation’s (“Defendant”) Solyx Single Incision Sling System for

  the treatment of stress urinary incontinence (referred to hereafter as the “Solyx”). MSUMF Nos.

  2, 3.

      3. Following the implantation of Boston Scientific Corp.’s Solyx, Plaintiff Katrina Bagwell

  began experiencing complications including, but not limited to:

             1)     severe vaginal/pelvic pain;

             2)     urinary problems;

             3)     painful intercourse;

             4)     inability to sit for long period of time due to severe pain;

             5)     inability to lift more than 25 pounds;

             6)     numbness down right leg;

             7)     muscle spasms; and

             8)     emotional pain and suffering.




  1
   All “MSUMF” references are to Defendant Boston Scientific’s Separate Statement of
  Undisputed Material Facts filed in support of its Renewed Motion for Summary Judgment. All
  “OSUMF” references are to Plaintiffs’ Separate Statement of Undisputed Material Facts filed in
  support of its Response to the Renewed Motion for Summary Judgment.
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  See MSUMF No. 6-8; OSUMF 8.

      4. Ms. Bagwell’s pain is so severe that she had to stand or lay down on a zero-gravity

  recliner during the entirety of her deposition. OSUMF 25.

      5. Ms. Bagwell underwent two surgeries by Dr. Brian Flynn on April 10, 2014 and

  September 18, 2014, to remove portions of the Solyx. OSUMF No. 26.

      6. Ms. Bagwell continues to receive pelvic floor physical therapy and was granted disability

  due to her severe mesh-related complications. OSUMF No. 27.

      7. Ms. Bagwell received a Boston Scientific Corporation brochure that, after reading it,

  made her feel confident that the Solyx was safe and effective. OSUMF Nos. 22, 23.

      8. Ms. Bagwell testified that she would not have agreed to have the Solyx implanted had she

  known that it could alter her life by causing: 1) permanent chronic vaginal/pelvic pain; 2)

  permanent dyspareunia; 3) painful sitting; and 4) that she may need subsequent surgical

  procedures to remove the device to treat complications. OSUMF No. 24.

      9. Ms. Bagwell testified that she began attributing her injuries to the Solyx device in the

  summer of 2011. MSUMF 9, OSUMF 9.

      10. The first day of summer was June 22, 2011. 2 Thus, Plaintiffs had until, at the earliest,

  June 22, 2013 to file their complaint under Colorado’s two-year statute of limitations.

      11. Plaintiffs’ Complaint is deemed filed as of May 31, 2013, pursuant to the MDL’s PTO

  Nos. 47 and 53, and thus was filed within two years of the summer of 2011 discovery of the

  cause of Ms. Bagwell’s injuries. OSUMF No. 10, 13-21; MSUMF 9 and OSUMF 9.




  2
   See https://news.nationalgeographic.com/news/2011/6/100621-summer-solstice-2011-first-day-
  of-summer-longest-year-science-winter-google/.
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        12. On May 29, 2013, the MDL Court entered PTO 47, approving an agreement between the

  parties concerning the delayed filing of complaints. OSUMF Nos. 13-14.

        13. On August 29, 2013, the MDL Court entered PTO 53, which only slightly amended PTO

  47 by requiring compliance with Rule 11(b) of the Federal Rules of Civil Procedure, clarifying

  that the agreement did not apply to claims submitted by foreign citizens after July 22, 2013, and

  changing the filing deadline under the Agreement to January 15, 2014. OSUMF Nos. 13.

        14. Like PTO 47, PTO 53 provided, in pertinent part:

           Claimants and Defendants agree that from the Effective Date of this Agreement until and
           including October 1, 2013, all new complaints (1) effectively served, or (2) forwarded to
           Defendants pursuant to the Pre-Trial Orders applicable in each MDL Proceeding for
           waivers of service (hereinafter “the date of service”) shall be deemed filed as of that date.
           No further filing in the court is necessary during that period of time. During that period of
           time, the date of service shall be treated as the date of filing for the claims specifically
           asserted in the complaint with regard to the application of any statute of limitations,
           statutes of repose, or any other laws, statutes or codes of any jurisdiction anywhere that
           define, limit, proscribe and/or restrict the time period within which a lawsuit, claim
           and/or proceeding may be commenced.

  OSUMF No. 14.

        15. The Effective Date of PTO 53 remained May 15, 2013. OSUMF 15.

        16. PTO 53 also provided that “[t]his Agreement shall automatically terminate on October 1,

  2013. Following that date, the claimants shall have until January 15, 2014 to file with the clerk

  any action served, but not previously filed, pursuant to the terms of this Agreement.” OSUMF

  17.

        17. Additionally, PTO 53 provided that: “The claimants will commence filing the complaints

  on or before September 1, 2013. At the time for filing, a plaintiff must also file a Notice of

  Service under Delayed Filing Agreement which reflects the date the complaint was served or

  forwarded to defendant(s)….” OSUMF No. 19.




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     18. Thus, PTO 53 allowed plaintiffs to delay filing a complaint by serving their complaint on

  defendants between May 13, 2013 and October 1, 2013, as long as they filed their lawsuit on or

  before January 15, 2014 and otherwise complied with PTO 53, including filing a Notice of

  Service under Delayed Filing Agreement reflecting the date the complaint was served or

  forwarded to Defendant(s). OSUMF 13-15, 17, 19.

     19. On May 31, 2013, Plaintiffs served their Short Form Complaint on Boston Scientific

  Corporation via email to BSCwaiversmesh@shb.com. OSUMF 16.

     20. On October 8, 2013, prior to PTO#53’s January 15, 2014 filing deadline, Plaintiffs filed

  their complaint in the MDL. OSUMF No. 18.

     21. Plaintiffs also filed the Notice of Service Under Delayed Filing Agreement reflecting that

  the SFC was previously served on Boston Scientific Corporation on May 31, 2013, in

  compliance with PTO 53. OSUMF No. 20.

     22. In her SFC, Plaintiff Katrina Bagwell asserted claims for:

             1)    Negligence;

             2)    Strict liability - Design defect;

             3)    Strict Liability - Manufacturing defect;

             4)    Strict Liability – Failure to Warn;

             5)    Breach of Express Warranty;

             6)    Breach of Implied Warranty;

             7)    Discovery Rule, Tolling and Fraudulent Concealment; and

             8)    Punitive Damages

  MSUMF No. 11.




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     23. Plaintiff’s husband, Luke Bagwell, also asserted a claim for loss of consortium. MSUMF

  No. 12.

     24. Plaintiffs has served the expert report of Dr. Bruce Rosenzweig in this case.

     25. Dr. Rosenzweig’s report states, among other things, that the polypropylene in the BSC

  Mesh Products is not suitable for its intended application as a permanent prosthetic implant for

  stress urinary incontinence in women and that Boston Scientific utilized Marlex polypropylene

  resin in its Solyx device, knowing that this material was not intended for use as a permanent

  implant in the human body. OSUMF No. 28, 30, 32.

     26. Dr. Rosenzweig’s report states that polypropylene mesh creates a chronic foreign body

  reaction, which leads to severe complications, including the possibility of multiple erosions that

  can occur through one’s lifetime, chronic and debilitating pelvic pain, recurrence or worsening of

  incontinence, dyspareunia that can be chronic, wound infection, rejection of the mesh, sexual

  dysfunction, urinary and defecatory dysfunction, vaginal scarring, would healing problems,

  injury to ureters, bladder and urethra, pelvic abscess formation, risk of infection and/or the need

  for additional surgeries, among other problems. OSUMF No. 28.

     27. Dr. Rosensweig cites evidence that Boston Scientific did not conduct any clinical trials

  on Solyx prior to marketing it as a permanent medical implant. It then knowingly failed to warn

  physicians that it did not know if the mesh was safe or effective for human use. OSUMF No. 29.

     28. Dr. Rosenweig explains and cites evidence that Solyx carries many serious risks and

  design defects, and that Boston Scientific was aware of these risks and defects but failed to warn

  resin suppliers, healthcare providers and patients. OSUMF No. 29, 31, 32.




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                      SUMMARY JUDGMENT STANDARD OF REVIEW

     I.      SUMMARY JUDGMENT STANDARD

          Summary judgment is only appropriate where “the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

  genuine issue as to any material fact and that the moving party is entitled to a judgment as a

  matter of law.” FED. R. CIV. P. 56(c). A court’s function is not to “weigh the evidence and

  determine the truth of the matter.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).

  Instead, the Court should draw any permissible inference from the underlying facts in the light

  most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

  U.S. 574, 587-88 (1986). The non-moving party must “go beyond the pleadings and by [her]

  own affidavits, or by the depositions, answers to interrogatories, and admissions on file,

  designate facts showing there is a genuine issue for trial.” Celotex Corp. v. Catrett, 477 U.S. 317,

  324 (1986). “[T]he substantive law will identify which facts are material” and which are

  irrelevant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). An issue of fact is material

  if it is a legal element of the claim under the applicable substantive law which might affect the

  outcome of the case. See id. A genuine issue exists if sufficient evidence is presented favoring

  the nonmoving party for a jury to return a verdict for that party. See id.




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                                              ARGUMENT 3

      I.      PLAINTIFFS’ COMPLAINT WAS TIMELY SERVED ON DEFENDANTS
              WITHIN COLORADO’S TWO AND THREE-YEAR STATUTES OF
              LIMITATIONS

           In its Def. Brief, Boston Scientific Corporation omits critical facts in this case – facts that

  demonstrate unequivocally that Plaintiffs Katrina and Luke Bagwell served and filed their

  lawsuit against Boston Scientific Corporation within Colorado’s statutes of limitations. Indeed,

  Boston Scientific Corporation does not even acknowledge in its Def. Brief two of the MDL

  Court’s important Pretrial Orders Pretrial Orders that established a “delayed filing” procedure

  within the multidistrict litigations, including claims against Boston Scientific Corp. brought in

  MDL No. 2326. Boston Scientific Corporation also fails to acknowledge that Plaintiffs Katrina

  and Luke Bagwell served their Short Form Complaint on Boston Scientific Corp. on May 31,

  2013 – within the statutory period – and in compliance with Pretrial Orders 47 and 53. Thus,

  Boston Scientific Corporation’s summary judgment motion and supporting memorandum are

  without merit, even bordering on frivolous, and must be denied.

           A.      Plaintiffs personal injury, strict liability, fraudulent concealment, and loss of
           consortium claims were timely served and filed within Colorado’s two-year statutes
           of limitations.

           Defendant is correct that under Colorado law, breach of warranty claims governed by the

  Uniform Commercial Code must be brought within three years after the cause of action accrues

  and that all other products liability claim against a manufacturer or seller must be brought within

  two-years. See Def. Brief at pp. 7-8 (citing C.R.S. § 13–80–101(1)(a) (3-year SOL for breach of

  warranty claims), C.R.S. § 13–80–106(1) (2-year SOL for all products liability claims). In




  3
   Plaintiff does not contest Defendant’s choice of law analysis in finding that Colorado law
  applies to Plaintiffs’ substantive claims.
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  Colorado, the general discovery rule provides that a cause of action for injury to a person does

  not accrue until both the injury and its cause are known or should have been known by the

  exercise of reasonable diligence. C.S.R. § 13-80-108 (West).

         Thus, Colorado has adopted the discovery rule to determine when a products liability

  action accrues. Norris v. Baxter Healthcare Corp., 397 F.3d 878, 887 (10th Cir. 2005); Persichini

  v. Brad Ragan, Inc., 735 P.2d 168, 173 n.6 (Colo. 1987). Pursuant to the discovery rule, a

  plaintiff must bring his product liability and misrepresentation claims within two years of when

  he or she is aware or should be aware, given the exercise of reasonable diligence, of all of the

  elements of the cause of action. C.R.S. § 13-80-108(1); Norris, 397 F.3d at 887; Miller v.

  Armstrong World Indus., Inc., 817 P.111, 113-14 (Colo. 1991). “In determining when an action

  has accrued under a discovery-based statute of limitations, ‘[t]he question of when [the alleged

  wrongdoing] was or should have been discovered is a question of fact.”’ See Zurick v. First

  Amer. Title Ins. Co., 833 F.2d 233, (10th Cir. 1987) (holding that “plaintiffs cause of action did

  not accrue until he discovered, or in the exercise of reasonable diligence should have discovered,

  the material facts essential to show the elements of the claims asserted.”); Miller v. Armstrong

  World Industries, Inc., 817 P.2d 111 (Colo.1991) (holding that a claim for relief does not begin

  to accrue until the plaintiff knows, or should know, in the exercise of reasonable diligence, all

  material facts essential to show the elements of that cause of action.); Zinnia v. Cook,2009 WL

  31581136, *11 (D. Colo. Sept. 29 (2009). 4

         In its Def. Brief, Boston Scientific Corp. argues that it is entitled to summary judgment

  because:



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   Plaintiff throughout her deposition described the cause of the pain and symptoms she was
  experiencing as her body adjusting to the surgery as opposed to being caused by the mesh. See
  OSUMF Ex. 2, K. Bagwell Dep. at 126:16-127:2; 128:3-10; 130:13-22; and 137:1-7.
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                  Ms. Bagwell testified that she attributed her alleged injuries to the Solyx device in
                  the Summer of 2011. (MSUMF No. 9). Plaintiffs did not file their Complaint until
                  October 8, 2013. (MSUMF No. 10). Because Plaintiffs filed suit against Boston
                  Scientific for damages allegedly caused by the Solyx in October 2013 – more than
                  two years after the “Summer of 2011” – Plaintiffs’ claims against Boston
                  Scientific for negligence, strict liability (design defect, manufacturing defect, and
                  failure to warn), fraudulent concealment, and loss of consortium are barred under
                  Colorado law.

   Def. Brief at 8-9. At best, Boston Scientific recklessly overlooked critical facts; at worst, it

   intentionally omitted these facts in an effort to have this Court dismiss Plaintiffs claims

   erroneously.

          Boston Scientific must be aware that on May 29, 2013, the MDL Court entered PTO 47.

   OSUMF No. 13. Indeed, PTO 47 memorialized the parties’ stipulation – an agreement

   negotiated by Boston Scientific – regarding the delayed filing of complaints. OSUMF Nos. 13-

   15. On August 29, 2013, the Court entered PTO 53, which only slightly amended PTO#47 by

   requiring compliance with Rule 11(b) of the Federal Rules of Civil Procedure, clarifying that the

   agreement did not apply to claims submitted by foreign citizens after July 22, 2013, and

   extending the date to file served claims. OSUMF Nos. 13-15, 17, 19. Like PTO 47, PTO 53

   provided, in pertinent part:

          Claimants and Defendants agree that from the Effective Date of this Agreement until and
          including October 1, 2013, all new complaints (1) effectively served, or (2) forwarded to
          Defendants pursuant to the Pre-Trial Orders applicable in each MDL Proceeding for
          waivers of service (hereinafter “the date of service”) shall be deemed filed as of that date.
          No further filing in the court is necessary during that period of time. During that period of
          time, the date of service shall be treated as the date of filing for the claims specifically
          asserted in the complaint with regard to the application of any statute of limitations,
          statutes of repose, or any other laws, statutes or codes of any jurisdiction anywhere that
          define, limit, proscribe and/or restrict the time period within which a lawsuit, claim
          and/or proceeding may be commenced.

   OSUMF No. 14. PTO 53 also provided that “[t]his Agreement shall automatically terminate on

   October 1, 2013. Following that date, the claimants shall have until January 15, 2014 to file with



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   the clerk any action served, but not previously filed, pursuant to the terms of this Agreement.”

   OSUMF No. 17. Additionally, PTO 53 provided that: “The claimants will commence filing the

   complaints on or before September 1, 2013. At the time for filing, a plaintiff must also file a

   Notice of Service under Delayed Filing Agreement which reflects the date the complaint was

   served or forwarded to defendant(s)….” OSUMF No. 19. Thus, PTO 53 allowed plaintiffs to

   delay filing a complaint by serving their complaint on defendants between May 13, 2013 and

   October 1, 2013, as long as they filed their lawsuit on or before January 15, 2014 and otherwise

   complied with PTO 53, including filing a Notice of Service under Delayed Filing Agreement

   reflecting the date the complaint was served or forwarded to Defendant(s).

          On May 31, 2013, Plaintiffs served their Short Form Complaint on Boston Scientific

   Corporation via email to BSCwaiversmesh@shb.com. OSUMF No. 16. On October 8, 2013,

   prior to PTO 53’s January 15, 2014 filing deadline, Plaintiffs filed their complaint along with the

   Notice of Service Under Delayed Filing Agreement reflecting that the SFC was previously

   served on Boston Scientific Corporation, pursuant to PTO 47 and PTO 53, on May 31, 2013.

   OSUMF No. 18, 20. Accordingly, Plaintiffs’ complaint filed on October 8, 2013, relates back to

   the May 31, 2013 service date. OSUMF 10, 13-21. Thus, because Ms. Bagwell did not attribute

   her injury to the Solyx device until the summer of 2011, the Plaintiffs’ personal injury, strict

   liability, fraudulent concealment and loss of consortium claims are timely. But by failing to

   acknowledge these important facts – facts Boston Scientific must have known about –

   Defendants have wasted this Court’s, as well as the undersigned counsel’s, time and resources.

   In light of the above, it would be appropriate for Boston Scientific to immediately withdraw the

   Def. Brief. If it refuses to do so, however, Plaintiffs respectfully request that this Court enter an

   order denying Defendant’s Motion for Summary Judgment with respect to Plaintiffs’ timely



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   served and filed personal injury, strict liability, fraudulent concealment and loss of consortium

   claims.

             B. Plaintiffs breach of warranty claims were timely served and filed within
                Colorado’s three-year statute of limitations.

             Defendant’s argument concerning Plaintiffs’ breach of warranty claims are similarly

   flawed, fail to acknowledge the Court’s entry of PTO 47 and 53, and should be denied. As stated

   above, breach of warranty claims governed by the Uniform Commercial Code must be brought

   within three years.

             Plaintiffs’ breach of warranty claims are governed by Colorado’s 3-year statute of

   limitations. C.R.S. § 13–80–101(1)(a). Under Colorado law, breach of warranty claims do not

   accrue until, in the exercise of reasonable diligence, the breach should have been discovered.

   C.R.S. § 13-80-108(6). Boston Scientific argues that “[a]s confirmed by Ms. Bagwell’s assertion,

   it is undisputed that Ms. Bagwell was aware of her claimed injuries no later than August 2010.

   Therefore, Plaintiffs’ warranty claims accrue no later than August 2010. For Plaintiffs to proceed

   on their claims for breach of warranty, they would have had to have filed this action by August

   2013.” Def. Brief at 9. Again, Defendants argument is at best recklessly or at worst intentionally

   misleading. Defendant is – or should be – well aware of the stipulation it entered which this

   Court adopted in PTO 47 and 53. In accordance with the parties’ stipulation and the Court’s

   delayed filing orders, Plaintiffs served Boston Scientific with their SFC on May 31, 2013.

   OSUMF No. 16. Plaintiffs then filed their SFC on October 8, 2013 which, for purposes of the

   statute of limitations, relates back to the May 31, 2013 filing date. OSUMF 10, 13-21. Thus,

   Plaintiffs’ breach of warranty claims are deemed “filed” prior to the August 2013 date argued by

   Boston Scientific and, therefore, timely.




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            Again, by failing to acknowledge these important facts – Defendants have wasted this

   Court’s, as well as the undersigned counsel’s, time and resources. In light of the above, it would

   be appropriate for Boston Scientific to immediately withdraw the Def. Brief in this regard. If it

   refuses to do so, however, Plaintiffs respectfully request that this Court enter an order denying

   Boston Scientific’s Motion with respect to Plaintiffs’ timely served and filed claim for breach of

   warranty.

      II.      PLAINTIFFS DO NOT INTEND TO PURSUE A SEPARATE CLAIM FOR
               “MANUFACTURING DEFECT” AS SUCH CLAIM HAS BEEN CONSTRUED
               BY THIS COURT IN THIS MDL, BUT DOES NOT WAIVE OR OTHERWISE
               AGREE THAT EVIDENCE RELATING TO BOSTON SCIENTIFIC
               MANUFACTURING PROCESS WOULD BE RESTRICTED IN ANY WAY.

            In light of the MDL Court’s consistent rulings across pelvic mesh MDLs as to

   manufacturing defect claims, Plaintiffs do not intend to pursue a separate claim for

   “manufacturing defect,” as such claim has been construed by the MDL Court (i.e., not

   manufactured in accordance with the design, or a departure from manufacturer’s design

   specifications). Cisson, S.D.W.V. C.A. No. 2:11-cv-00195, Dkt. No. 272 (Memorandum Opinion

   and Order, Bard Motion for Partial Summary Judgment), p. 8 (“In sum, the plaintiffs have

   provided no evidence that the Avaulta product implanted in Ms. Cisson was not manufactured

   ‘in accordance with the design,’…or that it deviated ‘from some objective standard’ or departed

   ‘from the manufacturer’s specifications established for the creation of the product.’”); See also,

   Tyree v. Boston Scientific Corp., S.D.W.V. C.A. No. 2:12-cv-08633, Dkt. No. 446, pp. 5-6 (“The

   plaintiff points to no evidence that the Obtryx sling departed from its intended design at the time

   it left BSC’s control. Accordingly, BSC’s Motion for Summary Judgment on the plaintiff’s strict

   liability for manufacturing defect claim is GRANTED, and this claim is DISMISSED.”)




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                However, Plaintiffs do intend to present evidence that Boston Scientific’s manufacturing

   process and the raw materials used in the manufacture of the Solyx resulted in defects in the

   product, and in support of Plaintiffs’ negligence, failure to warn, design defect and punitive

   damages claims, which is consistent with the MDL Court’s prior rulings. See, e.g., Cisson,

   S.D.W.V. C.A. No. 2:11-cv-00195, Dkt. No. 272 (Memorandum Opinion and Order, Bard

   Motion for Partial Summary Judgment), p. 8 (“Although this process is part of the manufacturing

   process of the Avaulta products, it would fall within the category of a design defect and not a

   manufacturing defect if the process, albeit faulty, were the same for all of these products…[T]he

   alleged inadequate pore size and use of improper polypropylene material in the Avaulta products

   is a design issue.”). By not contesting Boston Scientific’s motion as to a “manufacturing defect”

   cause of action, Plaintiffs do not forego, waive or in any way agree that the use of any evidence

   relating to Boston Scientific’s manufacturing process and raw materials should be restricted.

         III.      BOSTON SCIENTIFIC AGAIN EITHER RECKLESSLY OR
                   INTENTIONALLY OMITS IMPORTANT FACTS DEMONSTRATING
                   VIABLE BREACH OF WARRANTY CLAIMS UNDER COLORADO LAW. 5

                Sufficient evidence exists to support Plaintiffs’ breach of express warranty claim.

   In the Def. Brief, Boston Scientific erroneously asserts that “Ms. Bagwell cannot prove she

   exchanged any communications directly with Boston Scientific regarding the Solyx, whether

   before or after her surgery” and that she “cannot identify any affirmation of fact or promise made

   by Boston Scientific that was part of a ‘basis for the bargain’ between the parties.” Def. Brief at

   11-12. Boston Scientific claims “[t]here is neither evidence to indicate the terms of an alleged

   warranty nor evidence that such terms were expressly made to Ms. Bagwell, thereby inducing

   her to use the Solyx.” Def. Brief at 11. Again, however, Boston Scientific ignores important



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       Plaintiffs agree to dismiss their breach of implied warranty of fitness for a particular purpose.
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   facts, including testimony from Ms. Bagwell concerning a brochure she received, reviewed, and

   relied upon in deciding to undergo surgery to implant Boston Scientific’s Solyx. OSUMF No.

   22-23. When questioned about the brochure during her deposition, Ms. Bagwell testified:

                  My understanding of [the brochure] when I received it was very good. It was
                  going to fix what was going on...with my leakage. And Dr. Cowles felt very
                  confident and this. When I read it, I felt very confident about this. My husband
                  read it, he felt very confident about this. That’s why I went through with the
                  procedure.

   OSUMF No. 22. Rather than acknowledge and address Ms. Bagwell’s testimony regarding the

   brochure, Defendant instead acts like it never happened. Defendant’s continued failure to

   acknowledge important facts throughout the Def. Brief is disappointing to say the least.

   Nevertheless, despite Boston Scientific’s glaring omissions, Plaintiffs have demonstrated

   sufficient evidence to maintain a breach of warranty claim under Colorado law, including

   promises by Boston Scientific that became part of Ms. Bagwell’s “basis for the bargain.” C.R.S.

   § 4-2-313(1)(a). 6 As such, Ms. Bagwell’s testimony concerning her reliance on Boston

   Scientific’s brochure is sufficient to maintain this cause of action even though such evidence, in

   Colorado, is not even necessary where “the seller's statements were of a kind which naturally

   would induce the buyer to purchase the goods and that he did purchase the goods.” Lutz Farms

   v. Asgrow Seed Co., 948 F.2d 638 (10th Cir. Colo. 1991), quoting Norton v. Lindsay, 350 F.2d

   46, 49 (10th Cir. 1965) (internal citations omitted). As Ms. Bagwell’s treatment decisions were

   affected by Defendant’s representations in the brochure, the Defendant’s motion for partial

   summary judgment on Ms. Bagwell’s breach of express warranty claim should be denied.




   6
    Under Colorado law, a plaintiff does not need to have privity with the product manufacturer in
   order to successfully bring a claim of breach of express warranty. COLO. REV. STAT. ANN. §
   4-2-318 (West 2012).
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      IV.      PLAINTIFFS HAVE MORE THAN SUFFICIENT EVIDENCE TO SUPPORT
               THEIR CLAIM FOR BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY.

            Boston Scientific contends that Plaintiffs’ claims for breach of implied warranty of

   merchantability should be dismissed for lack of evidence. A contract for the sale of goods by “a

   merchant with respect to goods of that kind” gives rise to an implied warranty of

   merchantability, unless properly excluded or modified. COLO. REV. STAT. ANN § 4–2–314(1).

   Merchantability means that the goods “[a]re fit for the ordinary purposes for which [they] are

   used,” § 4–2–314(2)(c), “[a]re adequately contained, packaged, and labeled,” § 4–2–314(2)(e),

   and “[c]onform to the promises or affirmations of fact made on the container or label if any,” §

   4–2–314(2)(f).

            There is more than sufficient evidence in this case supporting Plaintiffs’ claim for breach

   of implied warranty of merchantability. For example, Plaintiffs’ expert Dr. Bruce Rosenzweig

   has opined that Boston Scientific utilized Marlex polypropylene resin in its Solyx device that

   was not intended for use as a permanent implant in the human body and which:

                    creates a chronic foreign body reaction which lead to severe complications in
                    patients, including the possibility of multiple erosions that can occur through
                    one’s lifetime, chronic and debilitating pelvic pain, recurrence, worsening
                    incontinence, dyspareunia that can be chronic, wound infection, rejection of the
                    mesh, sexual dysfunction, urinary and defecatory dysfunction, vaginal scarring,
                    would healing problems, injury to ureters, bladder and urethra, pelvic abscess
                    formation, risk of infection and/or the need for additional surgeries, among others.
                    As a result, the polypropylene in the BSC Mesh Products is not suitable for
                    its intended application as a permanent prosthetic implant for stress urinary
                    incontinence in women.

            OSUMF No. 28. Dr. Rosenzweig also reviewed the Solyx brochures and Directions for

   Use and opined that that Boston Scientific “chose not to warn physicians that BSC does not

   know if the devices are safe or effective for human use because BSC decided not to verify

   whether the devices were safe and effective for human use in an RCT” OSUMF No. 29, and are

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   deficient in various other ways as carefully outlined by Dr. Rosenzweig in his report. See

   OSUMF Nos. 28-32.

           This evidence, when viewed in a light most favorable to Plaintiffs, and all reasonable

   inferences therefrom are drawn in their favor is more than sufficient to support Plaintiffs’ breach

   of implied warranty of merchantability claim in this regard. See e.g., Gossard v. Watson, 122

   Colo. 271, 221 P.2d 353 (1950). As such, Boston Scientific’s motion to dismiss Plaintiffs’

   breach of implied merchantability claim should be denied.

      V.      SUFFICIENT EVIDENCE EXISTS TO SUPPORT AN INDEPENDENT
              CLAIM FOR FRAUDULENT CONCEALMENT.

           Plaintiffs filed their fraudulent concealment claim not only to toll the running of

   Colorado’s statutes of limitations but also as a “standalone” claim. Under Colorado law, the

   elements of fraudulent concealment include:

                  (1) The concealment of a material existing fact that in equity and good conscience
                  should be disclosed; (2) knowledge on the part of the party against whom the
                  claim is asserted that such a fact is being concealed; (3) ignorance of that fact on
                  the part of the one from whom the fact is concealed; (4) the intention that the
                  concealment be acted upon; and (5) action on the concealment resulting in
                  damages.

   BP America Production Co. v. Patterson, 263 P.3d 103, 109 (Colo. 2011) (citing First Interstate

   Bank of Fort Collins, N.A. v. Piper Aircraft Corp., 744 P.2d 1197 (Colo. 1987)). Plaintiffs

   general experts intend on offering overwhelming evidence to support this claim at trial. For

   example, Dr. Rosenzweig spends a great deal of his time in his expert report outlining Boston

   Scientific sophisticated scheme to fraudulently conceal from the resin supplier, healthcare

   providers and patients that its polypropylene Marlex resin used in the Solyx device should not

   have been used “in medical applications involving permanent implantation in the human body”




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   OSUMF 32, and that it “did not conduct any clinical trials on…Solyx…prior to marketing [it] as

   a permanent medical implant in women.” OSUMF 29. See also OSUMF 28, 30, 31.

            Dr. Rosenzweig’s report details the many serious risks and design defects Boston

   Scientific was aware of but concealed from healthcare providers and their patients. OSUMF 28-

   32. Furthermore, Ms. Bagwell testified that she relied upon a Boston Scientific brochure which

   fraudulently concealed the serious risks associated with Boston Scientific’s slings, including the

   Solyx and she was injured as a result. OSUMF 22-24. This evidence, when viewed in a light

   most favorable to Plaintiffs, with all reasonable inferences drawn in their favor, is more than

   sufficient to support Plaintiffs’ standalone fraudulent concealment claim. As such, Boston

   Scientific’s motion should be denied.

      VI.      SUFFICIENT EVIDENCE EXISTS TO SUPPORT PLAINTIFFS’ LOSS OF
               CONSORTIUM CLAIM.

            Defendant is correct that Mr. Bagwell’s loss of consortium claim is derivative in nature.

   However, because summary judgment on Ms. Bagwell’s substantive law should be denied, as

   addressed above, the Court should also deny summary judgment of Mr. Bagwell’s loss of

   consortium claim.

                                              CONCLUSION

            In light of the foregoing, Plaintiff respectfully requests that the Court enter an Order

   denying Defendant’s Motion for Partial Judgment with regard to her claims for Negligence

   (Count I), Strict Liability- Design Defect (Count II), Strict Liability-Failure to Warn (Count IV),

   Breach of Express Warranty (Count V), Breach of Implied Warranty (Count VI), Loss of

   Consortium (Count VII), Fraudulent Concealment (Count VIII) and Punitive Damages (Count

   IX).




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   Dated: Nov. 20, 2020                     Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 20, 2020, I electronically filed the foregoing document

   with the Clerk of the Court using the CM/ECF system which will send notification of such filing

   to the CM/ECF participants registered to receive service in this MDL.


                                                      Respectfully Submitted,

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